Case 8:12-cv-00831-JVS-MLG Document4 Filed 05/23/12 Pagelof2 Page ID#:3

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Essociate, Inc CASE NUMBER:

SACV 12-831 CIJC(ANx)

PLAINTIFF(S),
Vv.
Eagle Web Assets, Inc et al NOTICE TO COUNSEL RE: COPYRIGHT,
PATENT, AND TRADEMARK
DEFENDANT(S). REPORTING REQUIREMENTS

TO: | COUNSEL OF RECORD and PRO SE LITIGANTS:

Pursuant to Local Rule 3-1 of this court, in all cases where jurisdiction is invoked in whole or in part under
28 U. S. C. Section 1338 (regarding patents, plant variety protection, copyrights and trademarks), counsel shall, at
the time of filing of the complaint, provide the Clerk with an original and two (2) copies of the required notice (AO
120) to the Patent and Trademark Office in patent, plant variety protection and trademark matters and / or an original
and two (2) copies of the required notice (AO 121) in copyright matters. The required forms of notice to the Patent
and Trademark and Copyright Offices are enclosed for your convenience.

ow Counsel: Please complete the enclosed form and electronically file within ten (10) days.

Oo Pro Se Litigants: Please complete the enclosed form(s) and return to: Clerk, U. 8S. District Court,
ATTN: Civil New Actions, at the following address within ten (10) days:

O 312N. Spring Street O 411 West Fourth St. O 3470 Twelfth Street
Main Floor, Room G-8 Suite 1053 Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501
Phone: (213)894-2215 Phone: (714)338-4750 Phone: (951)328-4450

CLERK, U. 8. DISTRICT COURT

Dated: May 23, 2012 By: N.Interiano

Deputy Clerk

Note: Please refer to the court's Internet website at www.cacd.scourts.gov for local rules and applicable forms.

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*
AO 120 (Rev. 08/10)

TO: Mail Stop 8 REPORT ON THE
. Director of the U.S. Patent and Trademark Office FILING OR DETERMINATION OF AN
P.O. Box 1450 ACTION REGARDING A PATENT OR
Alexandria, VA 22313-1450 TRADEMARK
In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
filed in the U.S. District Court on the following
(Trademarksor (Patents. ( [] the patent action involves 35 U.S.C. § 292.):
DOCKET NO. DATE FILED U.S. DISTRICT COURT
PLAINTIFF DEFENDANT
PATENT OR DATE OF PATENT
TRADEMARK NO. OR TRADEMARK HOLDER OF PATENT OR TRADEMARK

1

2

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4

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In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED INCLUDED BY
(] Amendment C1 Answer U1 Cross Bill CO Other Pleading
PATENT OR DATE OF PATENT
TRADEMARK NO. OR TRADEMARK HOLDER OF PATENT OR TRADEMARK

1

2

3

4

5

In the above—entitled case, the following decision has been rendered or judgement issued:

DECISION/JUDGEMENT

CLERK (BY) DEPUTY CLERK DATE

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
